                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           EASTERN DIVISION

                                 NO. 4:22-CR-14-lD

    UNITED STATES OF AMERICA

                    v.                             CONSENT PRELIMINARY
                                                   ORDEROFFORFfilTURE
    FRANK GEORGE JANOSKO



         WHEREAS, the above-named defendant has pleaded guilty pursuant to a

written plea agreement to the Indictment, charging the defendant with offenses in

violation of 18 U.S.C. § 2252(a)(4)(B);

         AND WHEREAS, the defendant consents to the terms of this Order and to the

forfeiture of the property that is/ the subject of this Order of Forfeiture); stipulates

and agrees that each item of property (i) consists of a visual depiction or book,

magazine, periodical, film, videotape, or other matter which contains any such visual

depiction, which was produced, transported, mailed, shipped, or received in the

commission of the offense(s), or (ii) was used or intended to be used, in any manner

or part, to commit or to promote the commission of the offense(s) or is traceable to

such property, and is therefore subject to forfeiture pursuant to 18 U.S.C. § 2253(a);

         AND WHEREAS, the defendant stipulates and agrees that the defendant

individually, or in combination with one or more co-defendants, has or had an

ownership, beneficial, possessory, or other legal interest in and/or exercised dominion
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and control over each item of property that is subject to forfeiture herein;

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       AND WHEREAS, the defendant knowingly and expressly agrees to waive the

requirements of Federal Rules of Criminal Procedure ll(b)(l)(J), 32.2(a), ~2.2(b)(l),

32.2(b)(4), and 43(a), including waiver of any defect respecting notice of the forfeiture

in the charging instrument or the plea colloquy; waiver of ~he right to a hearing to

present additional evidence respecting the forfeitability of any specific property or the

amount of any forfeiture money judgment; waiver of the right to be present during

any judicial proceeding respecting the forfeiture of the property that is the subject of
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this Order of Forfeiture or to receive further notice of the same; waiver of any defect

respecting the announcement of the forfeiture at sentencing; and waiver of any defect

respecting the inclusion of the forfeiture in the Court's judgment;

      AND WHEREAS, the defendant knowingly and expressly agrees that the

provisions of this Consent Preliminary Order of Forfeiture are intended to, and shal~

survive the defendant's death, notwithstanding the abatement of any underlying

criminal conviction after the entry of this Order; and that the forfeitability of any

particular property identified herein shall be determined as if defendant had

survived, and that det_ermination shall be binding upon defendant's heirs, successors

and assigns until the agreed forfeiture, including any agreed money judgment

amount, is collected in full;

       NOW, THEREFORE, based upon the Plea Agreement, the stipulations of the

parties, and all of the evidence of record in this case, the Court FINDS as fact and

CONCLUDES as a matter of law that there is a nexus betweeneachitemofproperty

listed below and the offense(s) to which the defendant has pleaded guilty, and that


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the defendant (or any combination of defendants in this case) has or had an interest

in the property to be forfeited,

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

       1.       The following property is forfeited to the United States pursuant to Fed.
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R. Crim. P. 32.2(b)(2) and 18 U.S.C. § 2253(a):

                Personal Property:

                a) One HP desktop computer, bearing serial number CN\17331035,

                   seized from the defendant at 4911-106 HollendenDrive, Raleigh, NC,

                   on June 3, 2021.

                b) One Gigaware external 2TB Hitachi drive, seized from the defendant

                   at 4911-106 HollendenDrive, Raleigh, NC, on June 3, 2021.

                c) One Samsung cell phone, IMEI 356544761018529, seized from the

                   defendant at 4911-106 Hollenden Drive, Raleigh, NC, on June 3,

                   2021.

                d) One     Acer      laptop   computer,    bearing       serial   number

                   LXR4B020160485877Al601, seized from the defendant at 4911-106

                   Hollenden Drive, Raleigh, NC, on June 3, 2021.

                e) One HP      Pavilion laptop    computer, bearing serial number

                   5CD3311KJM, seized from the defendant at 4911-106 Hollenden

                   Drive, Raleigh, NC, on June 3, 2021




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      2.       Pursuant to Fed. R. Crim. P. 32.2(b)(3), the U.S. Attorney General,

Secretary of the Treasury, Secretary of Homeland Security, or a designee is

authorized to seize, inventory, and otherwise maintain custody and control of the
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property, whether held by the defendant or by a third-party. Any person who
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knowingly destroys, damages, wastes, disposes of, transfers, or otherwise

takes any action with respect to the property, or attempts to do so, for the

purpose of preventing or impairing the Government's lawful authority to

take such property into its custody or control or to continue holding such

property under its lawful custody and control, may be subject to criminal

prosecution pursuant to 18 u.s.c. § 2232(a).

      3.       Pursuant to Fed. R. Crim. P. 32.2(b)(3) and 32.2(c)(l)(B), the United

States is authorized to conduct any discovery pursuant to the applicable Federal

Rules of Civil Procedure needed to identify, locate, or dispose of the above-referenced ·

property, or other substitute assets, including depositions, interrogatories, requests

for production of documents and for admission, and the issuance of subpoenas.

      4.       If and to the extent required by Fed. R. Crim. P. 32.2(b)(6), 21 U.S.C.

§ 853(n), and/or other applicable law, the United States shall provide notice of this

Order and of its int'ent to dispose of the specified real and/or personal property listed

above, by publishing and sending notice in the same manner as in civil forfeiture

cases, as provided in Rule G(4) of the Supplemental Rules for Admiralty or Maritime

Claims and Asset Forfeiture Actions. The United States shall then file a Notice with

the Court documenting for the record: (1) proof of publication, or the government's


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reliance on an exception to the publication requirement found in Supplemental Rule

G(4)(a)(i);.and (2) the government's efforts to send direct notice to all known potential
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third-party claimants in accordance with Supplemental Rule G(4)(b)(iii), or a

representation that no other potential claimants are known to the government. This

Order shall not take effect as the Court's Final Order of Forfeiture until an

appropriate Notice has been filed and the time in which any third parties with notice

of the forfeiture are permitted by law to file a petition has expired.
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      5.       Any person other than the above-named defendant, having or

claiming any legal interest in the subject property must, within 30 days of

the final publication of notice or of receipt of actual notice, whichever is

earlier, petition the Court to adjudicate the valid!ty of the asserted interest

pursuant to Fed. R. Crim. P. 32.2(c)(l) and 21 U.S.C. § 853(n)(2). The petition

must be signed by the petitioner under penalty of perjury and shall set

forth: the nat:ure and extent of the petitioner's right, title, or interest in the
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subject property; the time and circumstances of the petitioner's acquisition

of the right, title, or interest in the property; any additional facts supporting

the petitioner's claim; and the relief sought.

      6.       If one or more timely petitions are received by the Court, the Court will

enter a separate scheduling order governing the conduct of any forfeiture ancillary

proceedings under Fed. R. Crim. P. 32.2(c). Following the Court's disposition of all

timelyfiledpetitions, a Final Order of Forfeiture that amends this Order as necessary

to account for any third-party rights shall be entered pursuant to Fed.. R. Crim. P.


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32.2(c)(2) and 21 U.S.C. § 853(n)(6). The receiptofapetitionas to one or more specific

items of property shall not delay this Order of Forfeiture from becoming final, in

accordance with the following paragraph, as to any remaining property to which no

petition has been filed.

      7.       If no third party files a timely petition, or if this Court denies and/or

dismisses all third party petitions timely filed, this Order shall become the Final

Order of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2), and the United States

shall dispose of the property according to law, including without limitation

liquidation by sale or any other commercially feasible means, destruction, and/or

retention or transfer of an asset for official use. The United States shall have clear

title to the property and may warrant good title to any subsequent purchaser or

transferee pursuant to 21 U.S.C. § 853(n)(7).

      8.       Upon sentencing and issuance of the Judgment arid Commitment Order,

the Clerk of Court is DIRECTED to incorporate a reference to this Order of Forfeiture

in the applicable section of the Judgment, as required by Fed. R. Crim. P.

32.2(b)(4)(B). In accordance with Fed. R. Crim. P. 32.2(b)(4)(A), with the defendant's

consent, this Order shall be final as to the defendant upon entry.




                      [Remainder of page intentionally left blank.]




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      9.     The Court shall retainjurisdiction to enforce this Order, and to amend

it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).

      SO ORDERED, this the _]!:day of          Julu        ,2022.
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                                               JAS C. DEVER, III
                                               UNITED STATES DISTRICT JUDGE


WE ASK FOR THIS:


MICHAELF. EASLEY, JR.
United States Attorney
                                               Defendant


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Assistant U · ed States Attorney               ROSEMARY GODWIN
Criminal Division                              Attorney for the Defendant




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